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54 GOOD S

Inspectian Date:
04/28/2017

Prepared For:
John 8. Dunlap fl

Prepared By:
Home Inspection Building Specialist, INC
P.O. Box 273
Ocean Springs, MS 39566-0273

. 228,875.3699
228.875.9889 Fax
homeinspecspec@aol.com

Report Number:
7118519

inspector:

Rickey Authement MHIBO157 exp. 01/18
y P EXHIBIT

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REPORT OVERVIEW

(| THE HOUSE IN PERSPECTIVE

| CONVENTIONS USED IN THIS REPORT

SATISFACTORY - Indicates the component is functionally consistent with its original purpose but may show signs of normal
wear and tear and deterioration.

MARGINAL. - Indicates the component will probably require repair or replacement anytime within five years.
POOR - Indicates the component will need repair or replacement now or in the very near future.
MAJOR CONCERNS - A system or component that is considered significantly deficient or is unsafe.

SAFETY HAZARD - Denotes a condition ibat is unsafe and in need of prompt attention.

THE SCOPE OF THE INSPECTION

AMYUNI oe

All components designated for inspection in the ASHI@ Standards of Practice are inspected, except as may be noted in the
“Limitations of Inspection” sections within this report.

It is the goal of the inspection to put a home buyer in a better position to make a buying decision. Not all improvements will be
identified during this inspection. Unexpected repairs should still be anticipated. The inspection should not be considered a
guarantee or warranty of any kind.

Please refer to the pre-inspection contract for a full explanation of the scope of the inspection.

MAULANA UT PS OC

BUILDING DATA

Approximate Age: UPR = 2A os
Style: Saves poy
Main Entrance Faces:
State of Occupancy:
Weather Condiltons:
Recent Rain:

Ground cover:
Temperature: TE

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RECEIPT / INVOICE

Home Inspection Building Specialist, INC

P.O. Box 273

Ocean Springs, MS 39566-0273
228.875.3699

Date: 04/28/2017

Name: John B. Dunlap HI

Inspection:

Other**

Total:

** [4 Mold
[J Pool / Hot Tub
A cowl
{] Other:

.. Check #
O Cash
(J Credit Card

Inspected By: Rickey Authement
License/Certification #: MHIBO137 exp, 01/18

Inspection Number: 7118519

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7 Se.

. DRIVEWAY/FARKING
Material: A Concrete O Asphalt J Gravel ( Brick
Condition: M1 Satisfactory | C) Marginal 0 Poor (1 Settling Cracks Typical cracks
O Pitched towards home () Trip hazard 4 Fill cracks and seal
_ PORCH (covered entrance)
Support Pier: Concrete Mi Wood C1 Not visible
Condition: (vI Satisfactory {] Marginal F) Poor 0 Railing/Balusters recommended
Floor: Satisfactory ( Marginal E Poor C1 Safety Hazard
STOOPS/STEPS
Material: L] Concrete i Wood C) Railing/Balusters recommended
Condition: [i Satisfactory 01 Marginal (J Poor LE] Safety Hazard
DECK/BALCONY (flat, floored, roofless area)
Material: vl Wood 1] Metal [J Composite EF] Raifing/Balusters recommended
Finish: CJ} Treated “! Painted/Stained
D 0 Duproper attachment to heuse U) Railing loose
Condition: i) Satisfactory C] Marginal {J Poor 0) Wood in contact with soil
DECK/PATIO/PORCH COVERS
Condition: & Satisfactory L) Marginal [LJ Poor E] Posts/Supports need Repair

Recommend: [© Metal Straps/Bolts/Nails/Flashing C1) £mproper attachment to house

LANDSCAPING AFFECTING FOUNDATION

Negative Grade: U1 East OF West CI North 1 South ~. Satisfactory
(3 Recommend additional backfill Recommend window wells/covers UL) Trim back trees/shrubberies
C1 Wood in contact withfmproper clearance to soil (1 Yard drains present ~ not inspected

RETAINING WALL Materiah 30.0 L] Drainage holes recommended

Condition: (] Satisfactory Marginal C1 Poor 1 Safety Hazard =~ Leaning/crached/bowed
(Relates to the visual condition of the wall}

TIOSE BIBS C7] None *: No anti-siphon valve =" Recommend Anti-siphon valve

Operable: ni Yes No U1 Not tested C1 Not on

GENERAL COMMENTS

GROUNDS / LANDSCAPING:

1. Driveway and / or sidewalk(s) had some cracking considered to be typical, but usable, repair as needed. Recommend
sealing the cracks with a self-leveling concrete crack filler to avoid further damage to the driveway. Water infiltration in the
crack can cause additional compaction of soils below the coneret i ) become n and / or concaved,

y,

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2, Bait traps present in the yard at the foundation perimeter. These particular stations are designed for monitoring activity of
wood destroying insects. Recommend consulting with the owner / seller for additional comment. —

3. Bulkhead along the water’s edge showing evidence of failure as the bulkhead is leaning outward, pier damage fo
pressure of tension / tie back, sink holes along the bulkhead, etc... Recommend a qualified marine contractor
evaluate for repair
pees -

DECK / STAIRS:
1. Deck post under the rear mid-span Janding are deteriorated at the base. Recommend budgeting to replace damaged

deck post,

Ee, af
Or

a
at

2. Deck at the mid-span landing of the staircase has separation between the joists and rim joists. Recommend
installation of metal joisis hangers.

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Spacing between balusters of the decks guardrail exceeds the maximum spacing of 4” and is a concern if the dwelling
is occupied by small children and / or pets. In any case this condition would be considered a pre-existing, non-
conforming component to the structure and may have been constructed prior (o such standard, While there is no
requirement to upgrade and / or make changes, we do recommend that corrections be made if deemed fit for
accupants of the home. ©

LMAT GH,

The ledger attaching the porch deck structure to the home structure interrupted the exterior wall covering and was
inadequately flashed. No flashing was installed above the ledger. Flashing is designed to protect the wall assembly from
moisture intrusion where the deck attaches to the home. The Inspector recommends correction by a qualified contractor to
help prevent damage from moisture intrusion of the exterior wall structure with the potential for damage to the structure.

EXCLUSIONS TO THIS REPORT:
> Unattached structures / out buildings are outside the scope of this insp

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ISX

ROOF VISIBILITY 4 AN DC Partial [1 None C2 Limited by:
{
INSPECTED FROM Mi Roof © C) Ladder at eavesC] Ground Unspection Limited) C] With Binoculars
‘STYLE OF ROOF
Type: OGable M Hip O Mansard C] Shed J Flat
Pitch: OLow O Medium © Steep 0 Flat
Type: Asphalt Architectural Layers: | Layer Approx. age: 10-15 Vrs.
VENTILATION SYSTEM Type: SJ Soffit EC) Ridge () Gable O Roof 4) Turbine bt Powered
Ventilation Present: kJ Yes C1 No (See Interior remarks)

CONDITION OF ROOF COVERINGS i Satisfactory [2 Marginal (1 Poor

Condition: 4 Curling (J Cracking C) Ponding CT Bum Spots C1] Broken/Loose Tiles/Shingles
[4 Nail popping  C] Gramlesinissing C] Alligatoring C7] Blistering C1] Missing Tabs/Shingles/Tiles
[] Moss buildup [£1] Exposed felt [1 Cupping (3 Incomplete/lmproper Nailing
(Recommend roofer evaluate 0 Evidence of Leakage 1 Exposed naifs — Ridge / flashing(s)

PLUMBING VENTS CINot Visible °°? Yes []No >? Satisfactory EE Marginal [1] Poor

Materia: [] Galv/Alam [1 Copper EJ Plastic / Neoprene » Lead (Other

Canditions reported above reflect visible portion only, See additional Comments

GENERAL COMMENTS

ROOF:
1. Exposed roof nails on the ridge cap and / or flashings. Reconunend sealing the exposed nail heads.

2. Roof shingles damaged in many locations due to nail punctures, Recommend a qualified roofing contractor replace
punctured shingles. *Example of condition, Condition sited in jt lo

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GUTTERS/SCUPPERS/EAVESTROUGH ' MI None

SIDING —
Material: [i Stone Slate 0 Brick 1 Fiberboard  Fiber-cement 1 Stucco
[1 EIFS* Not Inspected {1 Asphalt OD Wood 4] Vinyl CO Block
0 Typical cracks D Peeling paint 0) Monitor Ui Wood rot 0 Leose/Missing/Heles
Condition: [1 Satisfactory OO Marginal {1 Poor C) Recommend repair/painting
1.)JTRIM 2.)SOFFIT 3.}FASCIA 4,) FLASHING
Material: CI Wood C] Fiberboard i] Aluminuny/Steel (J Other
4 Recommend repair Ci Dantaged wood
Condition: 4 Satisfactory [7 Marginal L) Poor
CAULKING
Condition: 0 Satisfactory b4 Marginal CI} Poor
Wl Recoumend avound windows/toarsAnasonry ledges/cornersuility penetrations
WINDOWS & SCREENS O] Failed/fogged insulated glass

Materia: L3 Wood ~ Metal L] Vinyt C] Alumimin/Vinyl Clad

o ra oT
Le ree Lit WFLA OEE SUP Sau MOCUC

COANE n?:09-MACEARAATHEE FEMME indPOCUMEMT 442243 WhILAG OPAL m RAG RDLARre

Condition reported above reflect visible portion only.

“GENERAL COMMENTS.

EXTERIOR:

1. Penetration(s) in the exterior finishes do not appear to be sealed. Recommend sealing all penetrations.

2. Window screens not installed at the time of the inspection. Sizes and number were not verified. Recommend installing
screens.
3. Windows trim is not sealed to the vinyl j-channel. Recommend sealin

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4. Metal fascia cap at the rear of the home is loose. Recommend a qualified professional repair.

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SERVICE ENTRY CJ Underground CI Overhead 0 Weather head/mast needs repair
Exterior receptacles: [1 Yes [1No Operable: D Yes (No [ Overhead wires too low
GFCI present: Cl¥es No Operablee OYes [No OO Safety Hazard

C1 Reverse polarity EF] Open graund(s) CO Recommend GFCI Receptacles
Condition: F Satisfactory £1 Marginal T] Poor

BUILDING(S) EXTERIOR WALL CONSTRUCTION
Type: (4 Not visible 7 Framed C1 Masonry
Condition: ivi Not visible EJ Satisfactory ©) Marginal (1) Poor

EXTERIOR DOORS
Weatherstripping: (1 Satisfactory [1] Marginal [J] Poor 1) Missing Ci Replace
Door Condition: OD Satisfactory DC) Marginal [] Poor

EXTERIOR A/C - HEAT PUMP Location: Right side
Brand: (rane Model #: 2TWRAGAGA EONGAA Approximate age: 2006 = 11 yrs.
Outside Disconnect: 2 Yes (1) No Maximum firse/breaker rating: °° sv Fuses/breakers installed: 60 A.aup

Level: ¥es [No C1 Cabinet/housing rusted Cl Sunproperty sized fuses/breakers
Condenser Fins: C1 Damaged [1 Need cleaning C] Damaged basefpad

EL] Damaged Refrigerant Line Insulation: ©; Yes C1No (CiReplace
Condition: it Satisfactory [Marginal C1 Poor Proper Clearance (air flow) is" Yes [1 No

GENERAL COMMENTS

EXTERIOR ELECTRICAL:
1, Electrical outlets at the rear exterlor wail of the porch test open hot, ne power. Recommend a Hcensed electrician
repair.

EXTERIOR DOOR(S):

t. Exterior door is missing screws in one or more hinges. The missing screws appear to be the three inch screws used to secure
the hinge to the walls framing, Recommend installing a 3 inch screw where niissing to prevent the door from dragging over
time.

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A-C CONDENSER:

1. The ledger attaching the mechanical platform structure to the home structure interrupted the exterior wall covering
and was inadequately flashed. No flashing was installed above the ledger. Flashing is designed to protect the wall
assembly from moisture intrusion where the deck attaches to the-+iome. The Inspector recommends correction by a
qualified contractor to help prevent damage from moisture intrusion of the exterior wall structure with the potential
for damage to the structure,

CATERED fe

2. Joist hanger hardware under the mechanicat platform structure are rusted through. Recommend replacing damaged
joists hangers.

3. Condenser anit is rated for a maximum disconnect of 30 amps. The breaker in service to condenser is a 60-amp
breaker and the wire size between disconnect and unit is a #10 wire. Recommend a licensed electrician reduced
reduce the breaker to a 30-amp breaker.

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As

COUNTERTOPS Wi Satisfactory [J Marginal C) Recommend repair/eaulking

CABINETS i Satisfactory O Marginal 0 Recommend repair/adjustnent

PLUMBING COMMENTS.

Faucet Leaks: OO Yes i No Pipes leak/correded: 11 Yes M No

Sink/Faucet: i] Satisfactory [1 Corroded 1 Chipped Ci Cracked C] Recommend repair
Functional Drainage: [© Satisfactory ] Marginal 1 Poor Functional Flow: !:4 Satisfactory CJ Marginal £1] Poor

WALLS & CEILING
Condition: Wj Satisfactory Cl} Marginal L] Poor Ci Typical cracks  O Moisture stains

HEATING / COOLING SOURCE Wi Yes CINo

FLOOR Condition: Mi Satisfactory © Marginal OPoor OSloping UO Squeaks

APPLIANCES
ke “Disposal Operable. Yes  LINo [i Trash compactor Operable. T1¥es ONo
\ Oven Operable. (i Yes LINo | Exhaust fan Operable. =" Yes CI No
es -. Range Operable. “Yes lINo ‘ss Refrigerator Operable: ~ Yes CI)No
“Dishwasher Operable. *) Yes [No E] Microwave Operable. T1¥es No
Clice Maker Operable: (J Yes [No {J Beverage Refrigerator Operable. TL} Yes [1 No

Dishwasher Airgap: Cl¥es =! No and/or Dishwasher Drain Line Looped: [J Yes ~: No

Receptacles Present: viYes (1No Operable: nm Yes [I No

GFCL: vi Yes OONo Operable: J Yes CINo [1] Recommend GFCI Receptacles
Open ground/Reverse polarity: OC} Yes ¥!No UO) Potential safety hazard(s)

GENERAL COMMENTS
1. Range downdraft is no longer connected under the unit, Recom

2. Dishwasher control board does not function properly. Recommend a qualified appli rofessional service / repair.

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LAUNDRY ‘

Laundry sink: DI N/A Faucet leaks: LhYes MNo Pipesleak: OO Yes MM No

Cross connections; ClYes (4No Heatsoureepresent: Yes CXNo Roomvented: DO Yes &4 No

Dryer vented: ONA O Wall 1 Ceiling MI Floor CI Not vented

(0 Plastic Dryer Vent not recommended O Not vented to Exterior 1 Recommend repair Di Safety hazard
Electrical: Open ground/reverse polarity within 6’ of water: DOYes &1No L] Safety hazard

GFCI present: Clyes &No Operable: Ol Yes OO No C3 Recommend GFCI Receptacles
Appliances: i] Washer ©) Dryer [] Waterheater © Fumace/Boiler

Washer hook-up lines/valves: [I Leaking [1 Corroded YJ Not visible

Gas Shut-off Valve: MN/A

GENERAL COMMENTS

EXCLUSIONS FROM THIS REPORT:
> Washing machines and clothes dryers are not fixed components of the home, therefore no uispections were performed to
these particular components.

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- BALL
Sinks:
Tubs:
Showers:
Toilet:
Shower/Tub area:
Condition:

Faucet leaks:
Faucet leaks:
Faucet leaks:
Bowl Loose:

Drainage: [| Satisfactory
Water flow: iv} Satisfactory
Moisture stains present: [1 Yes
Window/doors: © Satisfactory
Receptacles Present: Wi Yes
GFCI: “Yes ONo
Open ground/Reverse polarity:
Heat source present: Li Yes
Exhaust fan: Mt Ves

Ol yYes

C} Ceramic/Plastic
(i Satisfactory [2 Marginal
Caulk/Grouting Needed:

1 No
fH No

Pipes leak: CJ Yes
Pipes leak: 1 Yes
Pipesleak; (1 Yes 1 No
Operable: & Yes [No
01 Masonite 4 Other
‘(Poor €] Rotted floors
Where:

LO Nat visible
OO Not vistble
O Cracked bow! ( Toilet leaks

7 Yes
1 Yes
1 Yes
(J Fiberglass

Ll Yes MNo
(1 Marginal J Poor
1 Marginal (1 Poor
MiNo 1) Walls C1 Ceilings
C) Marginal LJ Poor

[] No Operable: {! Yes
Operable: ives []No

Ll Yes §% No U1 Potential Safety Hazard(s)
LI} No
CI No

C1 Cabinetry

No

Operable: “i Yes LINo CINoisy Ct Operable window

GENERAL COMMENTS

t. Floor / tub abutment does not appear to be sealed. Recommend se

ing the tile / tub abutment with a proper caufk bead.

2. Tub / shower water spigot does not fit firmly to the shower surround, nor appears to be properly sealed. To avoid water
infiltration behind the wall, recommend sealing the spigot to the s d

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ws

MASTER
Sinks:
Showers:
Toilet:
Shower area:

Faucet leaks:
Faucet leaks:
Bowl Loose:

Condition:

Caulk/Grouting Needed:

Drainage: J Satisfactory
Water flow: M1 Satisfactory
Moisture stains present: O Yes
Window/doors: &) Satisfactory
Receptacles Present: i Yes
GFCI: MYes No
Open ground/Reverse polarity:
Heat source present: ¥i Yes
Exhaust fan: i Yes

(] Ceramic/Plastic
) Satisfactory

Pipesleak: OD Yes MI No

Pipes leak: [) Yes 1 No

Oyes MNo Operable: Wi Yes CINo
[J Fiberglass 1 Masonite Other

[i] Marginal 1 Poor 1 Rotted floors

[Ves WNo Where:

Marginal {1 Poor

1 Marginal (1 Poor

FiNo OC) Walls CO Ceilings

C] Marginal © Poor

FI No Operable: 4 Yes

Operable: 1 Yes LINo

Cl¥es &? No C] Potential Safety Hazards}

ONo

[1 No

Oves MNo

OlYes No C1 Not visible

CI Cracked bow! {3 Toilet leaks

0 Cabinetry

LI No

GENERAL COMMENTS

Operable: Yes C1No Cl Noisy [J Operable window

1. Master bathroom electrical outlets (left side only) are not ground fault protected. Due to the presence of ground
fault protected devices in other areas of the home, recommend the electrical outtets be replaced with ground fault

protected devices.

|

2. Vanity sink on the left side does not appear to have venting. Rec

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LIVING ROOM: \
Walls & Ceiling: {¥i Satisfactory . 1 Marginal C4 Poor LC] Typical cracks (Damage
Moisture stains: 1) Yes ¥] No Where:
Floor: M1 Satisfactory (_] Marginal Fi Poor 0 Squeaks DO Slopes
Ceiling Fan; = OON/A i] Satisfactory (1 Marginal EF) Poor
Electrical: Switches: [J Yes CO Ne Receptacles: Yes [No Operable: & Yes LO No
Open ground/Reverse polarity: [Yes [i No LC Safety Hazard CT Cover plates missing
Fleating Source Present: 4 Yes (1 Not visible Holes: (2Doors OU Walls 0) Ceilings
Doors & Windows: M1 Satisfactory Marginal O Poor (J Cracked glass

D Evidence of leaking insulated glass [1 Broken/Missing hardware

GENERAL COMMENTS

DINING ROOM
Walls & Ceiling: \ Satisfactory F) Marginal [1 Poor [ Typical cracks [J Damage
Moisture stains: [1 Yes Li No Where:
Floor: (i Satisfactory (7 Marginal €] Poor (7 Squeaks E] Slopes
Ceiling Fan; ON/A QO) Marginal CE) Poor
Electrical: Switches: {<i Yes LI No Receptacles: Yes [JNo Operable: 2 Yes [1] No
Open ground/Reverse polarity: FYes = No C1 Safety Hazard (1 Cover plates missing
Heating Source Present: ‘=! Yes (J Not visible Holes: E] Doors OO Walls C) Ceilings
Doors & Windows: vi Satisfactory [] Marginal C) Poor I Cracked glass

(J Evidence of leaking insulated glass (J Broken/Missing hardware

GENERAL COMMENTS

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a Lea a A ttl OITA LL Ln rT

HALLWAY
Walls & Ceiling: {3 Satisfactory C] Marginal CL} Poor [) Typical cracks [1 Damage
Moisture stains: F) Yes I No Where:
Fleor: M1 Satisfactory [7 Marginal QO) Poor Oi Squeaks (1 Stopes
Electrical: Switches: M Yes [J No Receptacles: Yes [No Operable: “J Yes LJ No
Open ground/Reverse polarity: CO) Yes [No O Safety Hazard C1 Cover plates missing
Heating Source Present: [4 Yes (0 Not visible Holes: DDoors O Walls Ci Ceilings
Egress Restricted: DI N/A 0 Yes 4 No
Doors & Windows: M Satisfactory [ Marginal LJ Poor [1 Cracked glass

FJ Evidence of leaking insulated glass [1 Broken/Missing hardware
GENERAL COMMENTS
BEDROOM (MASTER)
Wails & Ceiling: {) Satisfactory C] Marginal C1 Poor Ci typical cracks C] Damage
Moisture stains: [1] Yes “No Where:
Floor: 64} Satisfactory C] Marginal [J] Poor C1 Squeaks = Slopes
Ceiling Fan: OCIN/A iv Satisfactory {3 Marginal E] Poor
Electrical: Switches: 20 Yes [3 No Receptacles: i Yes [JNo Operable: Yes [1 No
Open ground/Reverse polarity; [1 Yes “No C1 Safety Hazard EJ Cover plates missing
Heating Source Present: x! Yes OH Not visible Holes: Ci Doors [] Walls 1 Ceilings
Egress Restricted: LI N/A Di Yes J No
Doors & Windows: “4 Satisfactory C1 Marginal 1) Poor 1 Cracked glass

C] Evidence of leaking insulated glass [1] Broken/Missing hardware
GENERAL COMMENTS

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BEDROOM (SPARE)
Walls & Ceiling: ©] Satisfactory (J Marginal {] Poor 1 Typical cracks Damage
Moisture stains: C] Yes 1 No Where:
Floor: M1 Satisfactory CD Marginal [ Poor (} Squeaks C1 Slopes
Ceiling Fan: OWN/A vi Satisfactory (J Marginal 0 Poor
Electrical: Switches: / Yes O No Receptactes: Yes (No Operabie: Mi Yes O No
Open ground/Reverse polarity: 1 Yes M4 No Ci Safety Hazard C] Cover plates missing
Heating Source Present: ™ Yes DF Not visible Holes: Ch Deors UH Walls 0 Ceilings
Egress Restricted: DNIA Oi Yes lv No
Doors & Windows: M Satisfactory (] Marginal DQ Poor [J Cracked glass

CJ Evidence of leaking insulated glass UO Broken/Missing hardware

GENERAL COMMENTS

1. Door stop not installed fo prevent door knob from damaging wall. Recommend installing a door stop.

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Re CAEL Grd NRL ALT AHIAGAE & i

cRasen.2osnidededay-EECMBN, ,Rocumeakeddaand Fil AAG QbhBrer Bae Aeetalten

Evidence of Leaking Insulated Glass: 01) Yes MINo CUN/A

SMOKE / CARBON MONOXIDE DETECTORS

Present: Smoke Detector: M Yes CINo Operable: MYes CINo O Not tested
CO Detector: Dyes Mi No Operable: []Yes DONo Ci Net tested
ATTIC/STRUCTURE/FRAMING/INSULATION
Access: 0 Stairs 4 Pulldown (1 Scuttlehole/Hatch Ol Neaceess N/A
Inspected From: [ Access panel 7 In the attic ’
Location: — M4 Bedroom hall C1 Bedroom closet CO Garage
Flooring: OC Complete I Partiat CO None
Insulation: 1 Fiber glass I Batts FlLoose Cellulose O Foam
C] Vermiculite C3 Rockwoll = Depth: 6-9” Gi Recommend Baffles @ Eaves
OF Damaged LI Displaced Flafissing OD) Compressed
Installed In: OlRafters 1 Walls M Between ceiling joists [1 Underside of Roof Deck Not visible
0 Recommend additional insulation (See comments)
Vapor Barriers: M Kraft/foil faced OH Plastic ONot visible 01 Impreperty Instalted
Ventilation: C) Ventilation appears adequate W Recommend additional ventilation
Fans Exhausted To: Attic: &J Yes No Outside: J Yes CINo 1 Not visible

HVAC Duct: OON/A Satisfactory O Damaged OSplit ODisconnected Leaking ORepair/Replace GReconnnend Insulation
Structural Problems Observed: DC) Yes M/No C) Recommend repair 0) Recommend Stractural Engineer

Roof Structure: [&4 Rafters 3 Trusses CO] Wood EF) Metal

L (j Collar Ties [1 Purlins Knee Wall [Not Visible
Ceiling Joists: Wood [J Metal (1 Not visible
Sheathing: [1] Plywood =) OSB [J Planking C1 Rotted Ci Stained C) Delaminated
Evidence of Condensation/Moisture Leaking: Ch ¥es “No
Electrical: L] Open junction box(es) 0 Handyman wiring 1 Visible knob-and-tube
GENERAL COMMENTS

INTERIOR:

1. The home when entering had a suspect odor to corollate with the presence of Chinese drywall. The level of odor
varies greatly in each home as does each persou’s ability to detect the odor. Recommend having home checked for
contaminated chinese drywall.

SMOKE DETECTOR:
1. Smoke detectors installed in each of the required locations have 2. One hardwire / linked unit and one standaione battery.
Recommend the hardwire system be repaired.

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INTERIOR WINDOWS / GLASS
Condition: 4 Satisfactory (1 Marginal { (1) Poor OO Needs repair
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ATTIC:
1. Attic exhaust fan did not function. Recommend repair / replacement.

*LIMITATION(S): Storage in the attic did limit the inspectors ability to observe all conditions in the attic.

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CRAWLSPACE ON/A MM Full crawlspace 1 Combination basement/craw! space/slab
Conditioned (heated/cooled): O¥Yes No

FOUNDATION WALLS

Material: C1 Satisfactory C] Marginal Ci Have evaluated E] Monitor
(J Concrete block CL] Poured Concrete EJ Stone (J irc
Wood C] Brick ™1 Piers & columns
[J Cracks 0 Movement

FLOOR i Concrete {] Gravel 1 Dirt
WI Typical cracks (4 Not Visible

JOISTS Material: (Wood (1 Steel Truss —‘&J Not visible
Di 2x6 2x8 L} 2x10 ( 2xi2 C1 Engineered I-Type
Condition: (1 Satisfactory FE) Marginal [4 Poor

SUB FLOOR CF indication of moisture stains/rotting
** Areas around shower stalls, etc., as viewed from basement or crawl space.

INSULATION i] Not visible
Location: EF] Walls [1 Between floor joists

VAPOR BARRIER
C1 Yes CO No
EF] Kraft/foil face OO) Plastic 1% Not visible

GENERAL COMMENTS
Concrete under the home had some cracking considered to be typical, but usable, repair as needed. Recommend sealing the
cracks with a self-leveling concrete crack filler to avoid further damage, Water infiltration in the crack can cause additional
compaction of soils below the concrete causing the concrete to become uneven and / or concaved.
Piers in several locations along the left side of the home have been retrofitted with steel brackets and a splice in the pier.
Inspector offers no opinion on the structural integrity of the repair. Recommend consulting with the seller for any
documentation of a structural engineer.

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3, Pier at the left side is wrapped with metal. Unable to identify uses for the metal, however did limit the inspector's ability to
inspect pier. Recommend consulting with seller for additional comments.

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4. Vinyl materials loose to the ceiling under the house. Recormmend repair.

i

5, Exterior electrical outlets under the home are not ground fault protected at all locations. Due to the presence of
ground fault protected devices in other areas of the home, recommend the exterior electrical outlets be replaced with
ground fault protected devices.

6, Electrical outlets in two or more location is missing the rotective cover. Recommend repair / replacement.
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WATER SERVICE Main Shut-off Location: Well house

Water Entry Piping: [4 Not visible [ Copper/Galv. J Plastic* (pvc, CPVC, Polybutylene, PEX) CL} Lead
Lead Other Than Solder Joints; LA Yes DJ No i} Unknown C1 Service entry
Visible Water Distribution Piping: & Copper (1 Galvanized M Plastic* @VC, CPVC, Polybutytene, PEX)
Condition: (J Satisfactory © Marginal D1 Poor
Functional Flow: 1 Satisfactory O) Marginat {1 Poor 1 Water pressure over 80 psi
Pipes, Supply/Drain; Cl Corroded  ClLeaking  . Oi Valves broken/missing
D Dissimifar metal Cross connection: C Yes TC) No
Drain/Waste/Vent Pipe: LJ Copper 7 Cast iron C1 Galvanized WJ PVC 0 ABS
Condition: 1 Satisfactory [) Marginal C1) Poor
Traps Proper P-Type: 4 Yes No 01 P-traps recommended
Functional Drainage: [J Satisfactory [2 Marginal (7 Poor
WELL PUMP ON/A (C)Submersible OO Inbasement O Wellhouse O Well pit {4 Shallow well
Pressure Gauge Operable: J Yes (1 No Well pressure: 90) psi
SANIFARY / GRINDER PUMP Operable: &) Yes O No
Sealed Crock: §i Yes (1No “Note: Sealed are not opened by the inspector!
Check Vaive: OO Yes [No 07 Not visible Vented: Yes bi No
WATER HEATER Location: Curbside
Brand name: Rheerl Serial #: REE Uide2Sse45
Type: C1) Gas “| Electric 0 Oil
Capacity: 50 getlans Approx, age: 2006 = 1) veards)
Relief Valve: (Yes CINo Extension proper: “i Yes (1No CO) Afissing 1 Recommend repair
Condition: | Satisfactory (J Marginal Poor
GENERAL COMMENTS
WELL PUMP:

1. Well pressure gauge was observed with 90psi at the time of the inspection. Pressures this high are a concern for the
supply water piping, gauge could be defective. Recommend a qualified plumber check gauge for accuracy and adjust
pressure if necessary.

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HEATING SYSTEM
Brand Name:

Energy Source:
Warm Air Systent:
Controls:
Distribution:
Filter:

Proper Operation:
Heat Pump:
System Condition:

Location; Exterior wall (Left)
Trane Approximate age: 2006 = 11 year(s)
Model #: 2TEC3F36AL0G0AA Serial #: G053T792V
D1 Gas {] LP oil i] Electric £1 Solid Fuel
OlBelt drive Mi Direct drive Gravity CI Central system (4 Floor/Wall unit
Disconnect: ™ Yes [1 No Normal operating and safety controls observed
(J Metal duct CJ Insulated flex duct (1 Coldairretums&4 Duct board CJ Asbestos-like wrap
i] Standard CO) Electrostatic 1 Satisfactory MM Needs cleaning/replacement L Missing
vw Yes EJ No C1 Not tested
ON/A © Aux. electric F) Aux. gas
Satisfactory (1) Marginal 1 Poor C) Recommended HVAC Technician Examine

System Nat Operated Due To: (1) Exterior temperature

GENERAL COMMENTS

HEATER / AIR HANDLER:
1. Surface microbial growth present on the air handler and plenum in the attic. Typical location for such condition. Surface

microbial growth growing on non-porous materials such as hard plastic, concrete, glass, metal, and solid wood can usually
be cleaned. Cleaning needed in the mechanical closet.

Wood decking in the mechanical closet is stained and / or damaged. Appears the condensate drain pipe is condensing water,
dripping on the deck. Recommend installing pipe insulation on the ndensate drain pipe

Drain pan is rusted. Recommend cleaning rust, inspect pan and rec

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DUCTWORK:
1. Ductwork run throughout the aitic is metal rigid piping wrapped with insulation blankets. There are areas of the piping that _

appear of being in need additional hangers, Recommend hauging duct where needed.

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MAIN PANEL Location: Exterior wall Condition: M Satisfactory E] Marginal C1 Poor
Adequate Clearance To Panel: [Yes O1No Amperage: 200 Volts: 120/240 Breakers O Fuses
Appears Grounded: [Yes ONo [Not visible
MAIN WIRE: M4 Copper 0 Aluminum CI Not visible C1 Double tapping of the main wire
Condition: M4 Satisfactory U Poor (J Federal Pacific Panel Stab Lak® (See remarks)*
BRANCH WIRE: ¥ Copper 0 Aluminum* C) Not visible
Condition: 1 Satisfactory C] Poor CF Recommend electrician evaluate/repair*®

M4 Romex [3 BX cable 9) Conduit O Knob & tube**

CF Double tapping CF Wires undersized/oversized breaker/fuse

C) Panel not accessible O)Not evaluated Reason:

SUB PANEL(S)
Location 1: Laundry room
C] Panel not accessible (Not evaluated Reason:
Branch Wire: M4 Copper C} Aluminum Breakers {1 Fuses
GFCI Breaker: OYes MNo Operable. OO Yes C1No
AFC] Breaker: (lYes WINo Operable: (Yes LI No
Neutral/ground separated: &1 Yes [INo Neutralisolated:  & Yes C1No [1 Safety hazard
Condition: 4 Satisfactory [7] Marginal Poor (1 Recommend separating/isolating neutrals

ELECTRICAL FIXTURES
A representative number of installed lighting fixtures, switches, and receptactes located inside the house, garage, and exterior
walls were tested and found to be:
Condition: wl Satisfactory [7] Marginal [L} Poor [EC] Open grounds CJ Reverse polarity
[1 GFCIs not operating (J Solid conductor aluminum branch wiring cireuits*
CJ Ungrounded 3-prong receptacles
OC) Recommend electrician evaluate/repair™

GENERAL COMMENTS

ELECTRICAL SUB-PANEL (LAUNDRY ROOM);
1. Exposed bare copper wiring inside the electric sub-pancl appears dark and correded. Recommend have home
checked fer contaminated chinese drywall.

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ADDITIONAL COMMENTS:

1. Covers were removed from eleletrical outlets and switches throughout the home finding the exposed bare copper
wiring dark and corroded in many locations (dining room, master bath, living room, bathrooms (both). Recommend
have home checked for contaminated chinese drywall,

AC UNIT
Energy Source: M1 Electric E] Gas
Unit Type: W) Air cooled E] Water cooled Geothermal 6 Heat pump
Evaporator Coit: (VI Satisfactory Ci Not visible (Needs cleaning LI] Damaged
Refrigerant lines: EJ Leak CI Damage Ch Insulation imissing lv! Satisfactory
Condensate Line/Drain: 1 To exterior C1 To pump £7} Floor drain iL) Waste drain
Operation: Differential: 16.6 °F (Supply: £6.49 °' / Return: 72.5 °F)
Difference in temperature (split) should be 14-22° Fahrenheif
Condition: 4 Satisfactory 1) Marginal O) Poor 0) Recommend HVAC technician examine/clean/service
GENERAL COMMENTS

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asf.

ITEMS NOT OPERATING

Electrical outlets at the rear exterior walt of the porch test open hot, no power. Recommend a licensed electrician repair.
2. Attic exhaust fan did not function, Recommend repair / replacement.

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MAJOR CONCERNS

Item(s) that have failed or have potential of failing soon.

1, Bulkhead along the water’s edge showing evidence of failure as the bulkhead is jeaning outward, pier damage to pressure of
tension / tie back, sink holes along the bulkhead, etc... Recommend a qualified marine contractor evaluate for repair.

2. Deck post under the rear mid-span landing are deteriorated at the base. Recommend budgeting to replace damaged deck
post.

3. Deck at the mid-span landing of the staircase has separation between the joists and rim joists. Recommend installation of
metal joists hangers.

4. Roof shingles damaged in maity locations due to nail punctures. Recommend a qualified roofing contractor replace
punctured shingles.

5, The ledger attaching the mechanical platform structure to the home structure interrupted the exterior wall covering and was
inadequately flashed. No flashing was instailed above the ledger. Flashing is designed to protect the wall assembly frora
moisture intrusion where the deck attaches to the home. The Inspector recommends correction by a qualified contractor to
help prevent damage from moisture intrusion of the exterior wall structure with the potential for damage to the structure.

6, Joist hanger hardware under the mechanical platform structure are rusted through, Recommend replacing damaged joists
hangers.

7. Range downdraft is no longer connected under the unit. Recommend repair.

Dishwasher contro} board does not function properly. Recommend a quatified appliance professional service / repair.

9, Well pressure gauge was observed with 90psi at the time of the inspection. Pressures this high are a concern for the supply
waier piping, gauge could be defective. Recommend a qualified plumber check gauge for accuracy and adjust pressure if
necessary.

10. The home when entering had a suspect odor to corollate with the presence of Chinese drywall. The level of odor varies
greatly in each home as does each person’s ability to detect the odor. Recommend having home checked for contaminated

o

contaminated Chinese drywall.

12. Covers were removed from electrical outlets and switches throughout the home finding the exposed bare copper wiring dark
and corroded in many locations (dining room, master bath, living room, bathrooms (both). Recommend having home
checked for contaminated Chinese drywall.

POTENTIAL SAFETY HAZARDS

1. Spacing between balusters of the decks guardrail exceeds the maximum spacing of 4” and is a concern if the dwelling is
, occupied by small children and / or pets. In any case this condition would be considered a pre-existing, non-conforming
component to the structure and may have been constructed prior to such standard. While there is no requirement to upgrade
and / or make changes, we do recommend that corrections be made if deemed fit for occupants of the home.

2. Condenser unit is rated for a maximum disconnect of 30 amps. The breaker in service to condenser is a 60-amp breaker and
the wire size between disconnect and unit is a #10 wire. Recommend a licensed electrician reduced reduce the breaker to a
30-amp breaker. ,

3. Master bathroom electrical outlets (left side only) are not ground fault protected. Due to the presence of ground fault
protected devices in other areas of the home, recommend the electrical outlets be replaced with ground fault protected
devices.

4. Exterior electrical outlets under the home are not ground fault protected at all locations. Due to the presence of ground fault
protected devices in other areas of the home, recommend the exterior electrical outlets be replaced with ground fault
protected devices,

Chinese drywall.
11. Exposed bare copper wiring inside the electric sub-panel appears dark and corroded. Recommend having home checked for
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* Htems listed in this report may inadvertently have been left off the Summary Sheet, Custonter
should read the entire report, including the Remarks.

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AMERICAN SOCIETY OF HOME INSPECTORS»

‘andards of Practice

ON OA wh

Introduction

Purpose & Scope

Structural System

Exterior

Roofing System

Plumbing System

Electrical System

Heating System

Air Conditioning System

Interior

Insulation & Ventilation
Fireplaces & Solid Fuel Burning Appliances
Genera! Limitalions & Exclusions
Glossary

1, INTRODUCTION

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Effective 1 January 2000
© 2060 American Society of Home Inspectors®

41.1 The American Society of Home Inspectors®, Inc. (ASHI®) is a not-for-profit professional society
established in 1976. Membership in ASHLis voluntary and its members include private, fee-paid home
inspectors, ASHI®'s objectives include promotion of excellence within the profession and continual
improvement of its members’ inspection services to the public.

2, PURPOSE AND SCOPE

2.1 The purpose of these Standards of Practice is to establish a minirnum and uniform standard for private,
fee-paid home inspectors who are members of the American Society of Home Inspectors. Home inspections
performed to these Standards of Practice are intended to provide the client with information regarding the
condition of the systems and components of the home as inspected at the time of the Home Inspection.

2.2 The inspector shall:
A, inspect:
1.

readily accessible systems and components of homes listed in these Standards of Practice.

2, installed systems and components of homes listed in these Standards of Practice.
B. report:

4. on those systems and components inspected which, in the professional opinion of the
inspector, are significantly deficient or are near the end of their service lives.

2. Areason why, if not self-evident, the system or component is significantly deficient or near
the end of its service life.

3. the inspector's recommendations to correct or monitor the reported deficiency.

4, onany systems and components designated for inspection in these Standards of Practice

which were present at the time of the Home Inspection but were not inspected and the
reason they were not inspected,

2.3 These Standards of Practice are not intended to limit inspectors from:
A. including other inspection services, systems or components in addition to those required by these
Standards of Practice. .
B. specifying repairs, provided the inspector is appropriately qualified and willing to do so.
C. excluding systems and components from the inspection if requested by the client.

3. STRUCTURAL SYSTEM

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3.1 The inspector shall:
A. inspect:

4. the structural components including foundation and framing.

2, by probing a representative number of structural components where deterioration is
suspected or where clear indications of possible deterioration exist. Probing is NOT required
when probing would damage any finished surface or where no deterioration is visible.

B. describe:
the foundation and report the methods used to inspect the under-floor crawl space.
the floor structure.
the wail structure.
the ceiling structure.
the roof structure and report the methods used to inspect the attic.

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3.2 The inspectoris NOT required to:
A, provide any engineering service or architectural service.
B. offer an opinion as to the adequacy of any structural system or component.

4, EXTERIOR

4.4 The inspector shall:
A. inspect:
the exterior wall covering, flashing and trim.
all exterior doors.
attached decks, balconies, stoops, steps, porches, and their associated railings.
the eaves, soffits, and fascias where accessible from the ground level.
the vegetation, grading, surface drainage, and retaining walls on the property when any of
these are likely to adversely affect the building.
. walkways, patios, and driveways leading fo dwelling entrances.
B. describe the exterior wall covering.

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4.2 The inspector is NOT required to:
A. inspect.
screening, shutters, awnings, and similar seasonal accessories.
fences.
geological, geotechnical, or hydrological conditions.
recreational facilities.
outbuildings.
seawalls, break-walls, and docks.
erosion control and earth stabilization measures.

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5. ROOF SYSTEM

5.1 The inspector shalk:
A. inspect:
1, the roof covering.
2, the roof drainage systems.
3, the flashings.
4. the skylights, chimneys, and roof penetrations.
B. describe the roof covering and report the methods used to inspect the roof.

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5.2 The inspector is NOT required to:
A. inspect:
1. antennae. .
2, interiors of flues or chimneys which are not readily accessible.
3, other installed accessories.

6. PLUMBING SYSTEM

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6.1 The inspector shall:
A. inspect.
4, the interior water supply and distribution systems including all fixtures and faucets.
9. the drain, waste and vent systems including all fixtures.
3, the water heating equipment
4, the vent sysiems, flues, and chimneys.
5. the fuel storage and fuel distribution systems.
6. the drainage sumps, sump pumps, and related piping.
B. describe:
4. the water supply, drain, waste, and vent piping materials.
2, the water heating equipment including the energy source,
3. the location of main water and main fuel shut-off valves.

6.2 The inspeetor is NOT required to:
A. inspect:

4. the clothes washing machine connections.

the interiors of flues or chimneys which are not readily accessible.
3. wells, well pumps, or water storage related equipment.
4, water conditioning systems.
5. solar water heating sysfems.
6. fire and lawn sprinkler systems.
7. private waste disposal systems.
etermine:
1. whether water supply and waste disposal sysfems are public or private.
2. the quantity or quality of the water supply.
3. operate safety valves or shul off valves.

B.d

7, ELECTRICAL SYSTEM

7.1 The inspector shall:
A. inspect:
4. the service drop.
the service entrance conductors, cables, and raceways.
the service equipment and main disconnects.
the service grounding.
the interior components of service panels and sub panels.
the conductors.
the overcurrent protection devices.
. arepresentative number of installed lighting fixtures, switches, and receptacles.
. the ground fault circuit interrupters.
B, describe:
4. the amperage and voltage rating of the service
2. the location of main disconnect(s) and sub panels
3. the wiring methods
C. report:
1. on the presence of solid conductor aluminum branch circuit wiring
2. onthe absence of smoke detectors

7.2 The inspector is NOT required to:

A. inspect:
4, the remote control devices unless the device is the only control device.
2. the alarm systems and components.
3. the low voltage wiring, systems and components.
4, the ancillary wiring, systems and components not a part of the primary electrical power

distribution sysfern.
B. measure amperage, voltage, or impedance.

8. HEATING SYSTEM

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8.1 The inspector shall:
A, inspect:
1. the installed heating equipment,
2. the vent systems, flues, and chimneys.
B. describe 4
1. the energy source.
2. the healing method by its distinguishing characteristics.

8.2 The inspector is NOT required to:

A. inspect.
1. the interiors of flues or chimneys which are not readily accessible.
2. ithe heat exchanger.
3. the humidifier or dehumidifier.
4, the electronic air filter.
5. the solar space heating system.

B. determine heat supply adequacy or distribution balance.

5. AIR CONDITIONING SYSTEMS

9.1 The inspector shall:
A. inspect the installed central and through-wall cooling equipment.
B. describe:
1. the energy source.
2. the cooling method by its distinguishing characteristics.
9.2 The inspector is NOT required to:
A. inspect electronic air filters.
B. determine cooling supply adequacy or distribution balance.

10. INTERIOR

10.1 The inspector shall:
A, inspect:
1. the walls, ceilings, and floors.
2. the steps, stairways, and railings.
3. the countertops and a representative number of installed cabinets.
4. a representative number of doors and windows.
5. garage doors and garage door operators.
10,2 The inspector is NOT required to:
A. inspect:
the paint, wallpaper, and other finish treatments,
the carpeting.
the window treatments.
the central vacuum sysfems.
the household appliances.
recreational facilities.

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14. INSULATION & VENTILATION

41.1 The inspector shall:

A, inspect:
4. the insulation and vapor retarders in unfinished spaces,
2, the ventilation of attics and foundation areas,
3. the mechanical ventilation systems.

B. describe:
1. the insulation and vapor retarders in unfinished spaces.
2. the absence of insulation in unfinished spaces at conditioned surfaces.

11.2 The inspector is NOT required to:
A. disturb insulation or vapor retarders.

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12, FIREPLACES AND SOLID FUEL BURNING APPLIANCES

-B, determine indoor air quality. -

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12.1 The inspector shall:

12.2

A. inspect:
1, the system components.
2, the vent sysfems, flues, and chimneys.
8. describe:
1. the fireplaces and solid fuel burning appliances.
2. the chimneys.

The inspector is NOT required to:
A. inspect:
{. the interiors of flues or chimneys.
the firescreens and doors.
the seals and gaskels.
the automatic fuel feed devices.
the mantles and fireplace surrounds.
the combustion make-up air devices.
. the heat distribulion assists whether gravity controlled or fan assisted.
B. ignite or extinguish fires.
C. determine draft characteristics.
D. move fireplace inserts or stoves or firebox contents.

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13. GENERAL LIMITATIONS AND EXCLUSIONS

13.1

13.2

General limitations:
A. Inspections performed in accordance with these Standards of Practice
1. are not technically exhaustive.
2. will not identify concealed conditions or latent defects
B. These Standards of Practice are applicable to buildings with four or fewer dwelling units and their
garages or carports.

General exclusions:

A. The inspector is not required to perform any action or make any determination unless specifically
stated in these Standards of Practice, except as may be required by lawful authority.

B. Inspectors are NOT required to determine:

1. the condition of systems or components which are not readily accessible.

2, the remaining life of any system or component.

3. the strength, adequacy, effectiveness, or efficiency of any system or component.

4. ihe causes of any condition or deficiency.

5. the methods, materials, or costs of corrections.

6. future conditions including, but not limited to, failure of systems and components.

7. the suitability of the property for any specialized use.

8. compliance with regulatory requirements (codes, regutations, laws, ordinances, etc.).

9. the market value of the properly or its marketability.

10, the advisability of the purchase of the property.

11. the presence of potentially hazardous plants or animals including, but not limited to wood
destroying organisms or diseases harmful to humans.

42, the presence of any environmental hazards including, but not limited to toxins, carcinogens,

noise, and contaminants in soil, water, and air.

13. the effectiveness of any system installed or methods utilized to control or remove suspected
hazardous substances.

14. the operating costs of systems or components.

15. the acoustical properties of any system or component,

C. inspectors are NOT required to offer:
1. or perform any act or service contrary to law.
2. or perform engineering services.

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3. of perform work in any trade or any professional service other than home inspection.
4, warranties or guarantees of any kind.
D. Inspectors are NOT required ta operate:
1. any system or component which is shut down or otherwise inoperable.
2. any system or component which does not respond to normal operating controls.
3. shut-off vaives.
E. Inspectors are NOT required to enter:
1. any area which will, in the opinion of the inspector, likely be dangerous to the inspector or
other persons or damage the property or its systems or components.
2. the under-floor crawl spaces or attics which do not conform to recognized standards for
clearance.
F. inspectors are NOT required to inspect.
1. underground items including, but not fimited to underground storage tanks or other
underground indications of their presence, whether abandoned or active.
2. systems or components which are not installed.
3. decorative items.
4. systems or components located in areas which are not entered in accordance with these
Standards of Practice.
5, detached structures other than garages and carporis.
6. common elements or common areas in multi-unit housing, such as condominium properties
or cooperative housing.
G, Inspectors are NOT required to:
4. perforrn any procedure or operation which will, in the opinion of the inspector, likely be
dangerous to the inspector or other persons or damage the property or its systems or

components.

2. move suspended ceiling tiles, personal property, furniiure, equipment, plants, soil, snow, ice,
or debris.

3. dismantle any system or component, except as explicitly required by these Standards of
Practice.

GLOSSARY OF ITALICIZED WORDS

Alarm Systems
Warning devices, instalfed or free-standing, including but not limited to; carbon monoxide detectors, flue gas and
other spillage detectors, security equipment, ejector pumps and smoke alarms

Architectural Service
Any practice involving the art and science of building design for construction of any structure or grouping of
structures and the use of space within and surrounding the structures or the design for construction, including but not
specifically limited to, schematic design, design development, preparation of construction contract documents, and
administration of the construction contract

Autamatic Safety Controls
Devices designed and installed to protect systems and components from unsafe conditions

Component
A part of a system

Decorative
Ornamental; not required for the proper operation of the essential systems and components of a horne

Describe
To report a system or component by its type or other observed, significant characteristics to distinguish it from other
sysfems or components

Dismantle
To take apart or remove any component, device or piece of equipment that would not be taken apart or removed by
a homeowner in the course of normal and routine home owner maintenance

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Engineering Service
Any professional service or creative work requiring engineering education, training, and experience and the
application of special knowledge of the mathematical, physical and engineering sciences to such professional service
or creative work as consultation, investigation, eva/uation, planning, design and supervision of construction for the
purpose of assuring compliance with the specifications and design, in conjunction with structures, buildings,
machines, equipment, works or processes

Further Evaluation
Examination and analysis by a qualified professional, tradesman or service technician beyond that provided by the
home inspection

Home Inspection
The process by which an inspector visually examines the readily accessible systems and components of a home and
which describes those systems and components in accordance with these Standards of Practice

Household Appliances
Kitchen, laundry, and similar appliances, whether installed or free-standing

Inspect
To examine readily accessible systems and components of a building in accordance with these Standards of
Practice, using normal operating contro/s and opening readily openable access panels

fnspector
A person hired to examine any system or component of a building in accordance with these Standards of Practice

Installed
Attached such that removal requires tools

Normal Operating Controls
Devices such as thermostats, switches or valves intended to be operated by the homeowner

Readily Accessible
Available for visual inspection without requiring moving of personal property, dismantling, destructive measures, or
any action which will likely invalve risk to persons or property

Readily Openable Access Panel
A panel provided for homeowner inspection and maintenance that is within normal reach, can be removed by one
person, and is not sealed in place

Recreational Facilities
Spas, saunas, steam baths, swimming pools, exercise, entertainment, athletic, playground or other similar equipment
and associated accessories

Report
To communicate in writing

Representative Number
One component per room for multiple similar interior components such as windows and electric outlets; one
component on each side of the building for multiple simitar exterior components

Roof Drainage Systems
Components used to carry water off a roof and away from a building

Significantly Deficient
Unsafe or not functioning

Shut Down
A state in which a system or component cannot be operated by normal operating controls

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Solid Fuel Burning Appliances
A hearth and fire chamber or similar prepared place in which a fire may be built and which is built in conjunction with
a chimney; or a listed assembly of a fire chamber, its chimney and related factory-made parts designed for unit
assembly without requiring field construction

{

Structural Component
A component which supports non-variable forces or weights (dead toads) and variable forces or weights (live loads)

System
A combination of interacting or interdependent components, assembled to carry out one or more functions

Technically Exhaustive
An investigation that involves dismantling, the extensive use of advanced techniques, measurements, instruments,
testing, calculations, or other means

Under-Floor Craw! Space
The area within the confines of the foundation and between the ground and the underside of the floor

Unsafe

A condition in a readily accessible, instafled component or system which is judged to be a significant risk of personal
injury during normal, day-to-day use. The risk may be due to damage, deterioration, improper installation or a change
in accepted residential construction standards

Wiring Methods
Identification of electrical conductors or wires by their general type, such as "non-metallic sheathed cable”
{("Romex"), “armored cable" ("bx") or "knob and iube," etc.

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